Case 2:11-cv-15165-GCS-RSW ECF No. 14 fi|e‘d 08/17/12 Page|D.l?€ Page 1 of 2

UNITED sTATEs DISTRICT COURT
EASTERN DISTRICT 0F MICHIGAN
EFREM WALKER, Individually,
Plaintiff,
v. § ease No. 2;11-cv-15165

R.A.X.I. DEVELOPMENT CORPORATION.
A Domestic Corporation

 

 

 

Defendant. :
/ :

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Attorneys for Plaintijjf

 

STIPULATED ORDER OF DISMISSAL

The parties, through their respective counsel, having stipulated to a Dismissal of this matter, and _
the Court being otherwise hilly advised in the premises;
IT IS HEREBY ORDERED that this matter is dismissed with prejudice, and the parties bear

their own respective costs.

Case 2:11-CV-15165-GCS-RSW ECF No. 14 filed 08/17 2 Page|D.l?? Page 2 of 2

CM

g 77 Ho r ble George Caram Steeh
/ l g\/ U te States District Court Judge

Plaintiff Efrem Walker and Defendant R.A.X.I Development Corporation., pursuant to

 
    
  

 

Federal Rule of Civil Procedure 4l(a)(1)(A)(ii), stipulate to the voluntary dismissal with prejudice
of the above-captioned matter, and the parties bear their own respective costs.

Respectfully submitted this 13th day of August 2012.

/s/ Pete M. Monismith /s/ William D. Shailor

Pete M. Monismith William D. Shailor, Esq.

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